                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
v.                                     )                     No. 3:05-CR-35
                                       )                     (JARVIS/SHIRLEY)
MANEUS L. BISHOP, also known as “MAN,” )
MARCUS JOHNSON,                        )
ANTHONY D. DEAN, also known as “TONY,”)
and FIDELITY L. MURCHISON, also known )
as “DALE,”                             )
                  Defendants.          )
                                       )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This matter came before the Court on May 26, 2005, for a scheduled

pretrial conference and motion hearing. Assistant United States Attorney Michael Winck was

present representing the government. Attorney Wayne Stambaugh was present representing

Defendant Johnson, Attorney A. Philip Lomonaco represented Defendant Dean, and Attorney

Angela Morelock was present representing Defendant Murchison. All three defendants were present

as well. Neither Defendant Bishop nor his attorney, Douglas Trant, were present for the hearing,

having requested and received permission to miss the hearing because Defendant Bishop has a

signed plea agreement.

               At the hearing, the Court addressed Defendant Fidelity Murchison’s Motion to File

Further Motions [Doc. 51]. Attorney Morelock stated that she wished to file a motion to continue

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on behalf of Defendant Murchison. She stated that she had received recorded conversations as

additional discovery that day and estimated that it would take her fifteen hours to review the

conversations. She requested that the June 15, 2005 trial be continued an additional thirty days.

Attorney Morelock stated that she had discussed Defendant Murchison’s speedy trial rights with her

and that the defendant was out on bond. She stated that other than the motion to continue, there

were no additional motions that she anticipated filing at this time. The Court questioned Defendant

Murchison, who stated that she understood her right to a speedy trial and agreed with her attorney’s

request that the trial be continued for an additional thirty days.

               Attorney Lomonaco stated that Defendant Dean joined in the request to continue the

trial thirty days. He stated that he had discussed a continuance with Dean and advised him of his

speedy trial rights. He said he believed a continuance was in his client’s best interest and that his

client did not object. The Court questioned Defendant Dean, who stated that he understood his right

to a speedy trial and that his attorney was requesting that his trial be continued for thirty days. He

said he believed the continuance was in his best interest and that he wanted the Court to grant it

despite the fact that he would remain in custody until the new trial date.

               Attorney Stambaugh stated that Defendant Johnson was not affected by the request

for a continuance because he was scheduled to enter a change of plea on June 2, 2005. The

government stated that it did not object to the requested continuance.

               Finding that Defendant Murchison has stated good cause for a continuance and that

the government does not object to same, the Court GRANTS in part Defendant Fidelity

Murchison’s Motion to File Further Motions [Doc. 51] in that the defendant is permitted to make

an oral motion to continue the trial. As the defendant has identified no other motions that she would


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like to file, her motion to file additional motions is DENIED in all other respects. If the defendant

subsequently learns of other motions that she needs to file, she may move the Court for leave to file

those motions and show good cause for filing them outside of the motion-filing deadline.

               The Court finds the joint, oral motion to continue the June 15, 2005 trial date to be

well taken, and it is GRANTED. The Court finds that the ends of justice served by granting the

motion outweigh the best interest of the public and the defendants in a speedy trial. 18 U.S.C. §

3161(h)(8)(A). The Court observes that defense counsel for Defendant Murchison has just received

additional discovery that will take her approximately fifteen hours to review. Moreover, the Court

heard five of Murchison’s motions and one motion by Dean on May 26, 2005. The defendants will

need time to prepare for trial in light of the Court’s rulings on these motions, some of which the

Court held in abeyance while the parties prepared supplemental briefs or attempted to resolve the

issues on their own. See 18 U.S.C. § 3161(a)(1)(F), -(1)(J). The Court finds that the parties need

an additional month to complete their trial preparations, even taking into account their exercise of

due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). Thus, Murchison’s and Dean’s joint, oral motion

for a continuance is GRANTED, and their trial is reset to July 18, 2005. Finally, the Court finds

that all the time between the May 26, 2005 hearing and the new trial date of July 18, 2005, is fully

excludable time under the Act.    See 18 U.S.C. § 3161(h)(1)(F), -(1)(J), -(8)(A)-(B).

               With regard to further scheduling, the government requested time to file a

supplemental brief on Defendant Murchison’s request for particulars on the dates of her alleged

involvement in the conspiracy. Attorney Morelock requested a couple of days to reply to the

supplemental response. Accordingly, the Court granted the parties an additional week to examine

this issue. The government is to file its supplemental brief within five business days of the May 26


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hearing. The defendant is to file any reply within two business days of her receipt of the

supplemental response. The parties are to appear before the undersigned for a pretrial conference

on June 15, 2005, at 1:30 p.m.

              Accordingly, it is ORDERED:

              (1) Defendant Fidelity Murchison’s Motion to File Further Motions
              [Doc. 51] is GRANTED in part to the extent that she is allowed to
              make an oral motion to continue the trial and is DENIED in all other
              respects;

              (2) The defendants’ joint, oral motion to continue the trial is
              GRANTED;

              (3) The trial is reset to commence on July 18, 2005, at 9:00 a.m.,
              before the Honorable James H. Jarvis, United States District Judge;


              (4) All time between the May 26, 2005 hearing date and the new
              trial date of July 18, 2005, is fully excludable time under the Speedy
              Trial Act for the reasons set forth herein;

              (5) The government has five business days from the May 26 hearing
              to file a response to Defendant Murchison’s request for a bill of
              particulars on the dates of her involvement in the conspiracies alleged
              in the indictment. Defendant Murchison has two business days
              following her receipt of the government’s response to file a reply;
              and

              (6) The parties are to appear before the undersigned on June 15,
              2005, at 1:30 p.m., for a pretrial conference.

              IT IS SO ORDERED.

                                                     ENTER:

                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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